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   12
                             UNITED STATES DISTRICT COURT
   13
              CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
   14
   15
      SHAWN CARTER, also known as             Case No. 2:21-cv-04848-SSS-KS
   16 JAY-Z, an individual,
                                              JOINT STATEMENT
   17               Plaintiff,
                                              The Honorable Sunshine Suzanne Sykes
   18        v.
                                              Trial Date: TBD
   19 JONATHAN MANNION, an
      individual, and JONATHAN
   20 MANNION PHOTOGRAPHY LLC, a
      New York limited liability company,
   21
                   Defendants.
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    1                                JOINT STATEMENT
    2        Pursuant to the Court’s June 25, 2022 Reassignment Order, ECF No. 185, the
    3 parties submit the following Joint Statement:
    4 I.     DATE OF FILING
    5        This case was filed on June 15, 2021. ECF No. 1.
    6 II.    PARTIES
    7        The parties are Plaintiff Shawn Carter, p/k/a Jay-Z, and Defendants Jonathan
    8 Mannion and Jonathan Mannion Photography LLC.
    9 III.   SUMMARY OF CLAIMS
   10        Mr. Carter asserts two claims for relief: (1) violation of section 3344 of the
   11 California Civil Code, and (2) violation of California’s common-law right of
   12 publicity. ECF No. 15 at 11-12. Mr. Carter’s claims are based on allegations that
   13 Defendants have used his name, image, and likeness on products and merchandise,
   14 and for purposes of advertising, without Mr. Carter’s permission. See, e.g., ECF
   15 No. 15 at 6-11. Mr. Carter’s claims are based on Defendants’ uses of eight
   16 photographs: (1) Jay-Z Print, (2) Jay-Z “Beyond a Reasonable Doubt” Print, (3) Jay-
   17 Z “New Blue Yankee” Print, (4) Jay-Z “Chess Not Checkers” Print, (5) Roc-A-Fella
   18 “Last Laugh” Print, (6) “Got You All In Check” Busta Rhymes, Notorious B.I.G.,
   19 Jay-Z Print, (7) another photograph of Plaintiff taken during the photoshoot for the
   20 Reasonable Doubt album and imprinted on a slipmat, and (8) the “Fame Wall”
   21 photograph. ECF 142 § V ¶¶ 1-2. The statute of limitations for Mr. Carter’s right of
   22 publicity claims is two years. There are no counterclaims.
   23 IV.    UNDERLYING EVENTS
   24        Plaintiff’s Statement: Mr. Carter is a well-known recording artist, producer,
   25 and entrepreneur. Defendant Jonathan Mannion is an established professional
   26 photographer specializing in hip-hop culture.
   27        In 1996, when Mr. Carter and Mr. Mannion were starting their careers,
   28 Mr. Carter and his record company commissioned Mr. Mannion to take photos of
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    1 Mr. Carter to be used for Mr. Carter’s debut album titled Reasonable Doubt.
    2 Mr. Carter and his record companies commissioned Mr. Mannion to take
    3 photographs for seven additional albums and for magazine covers and other
    4 promotional purposes.
    5        Mr. Mannion has used photos of Mr. Carter to create and sell products in the
    6 form of souvenir pins, magnets, slipmats (for playing vinyl records), and reprints of
    7 the photos. Mr. Mannion sells shirts bearing Mr. Carter’s name. Mr. Mannion also
    8 displays a photo of Mr. Carter on the landing page of his website and online store.
    9        Defendants’ assertion below that they have “sold for over two decades … fine
   10 art prints of their photographs, including photographs that include Mr. Carter’s
   11 image” is misleading. As Mr. Mannion testified, it was “during the pandemic,”
   12 “probably in the last two years,” that he began to focus on selling “prints of …
   13 photographs of [Mr. Carter].” Mannion Dep. 77:11-78:9. And Mr. Carter learned
   14 of Mr. Mannion’s website in May 2021 and filed suit one month later. Notably,
   15 Defendants have even abandoned their laches defense. ECF No. 148 ¶ 8.
   16        Defendants’ suggestion below that they had Mr. Carter’s consent to exploit
   17 his name, image, and likeness for commercial purposes because he never sent a
   18 “cease-and-desist letter asking Defendants to stop” is meritless. Mr. Mannion
   19 conceded that “[t]here was no permission given.” Mannion Dep. 97:7-20. That is
   20 dispositive as to the question whether Mr. Carter consented to Defendants’ conduct.
   21 And Defendants obviously know now that Mr. Carter objects to their use of his
   22 name, image, and likeness, yet Defendants have not stopped their unlawful conduct.
   23        Defendants’ Statement: From 1995 to 2006, Mr. Mannion took thousands
   24 of photographs of Mr. Carter, sometimes at the request of record companies and
   25 sometimes for magazines or other non-album purposes. No written contract was
   26 signed between the parties concerning that Reasonable Doubt photoshoot or the
   27 photographs that resulted from the shoot. Mr. Mannion subsequently obtained a
   28 copyright registration for the photographs that resulted from the Reasonable Doubt
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    1 shoot. There are no contracts transferring the ownership or restricting Defendants’
    2 uses of any of the photographs at issue in this litigation, and Mr. Mannion owns the
    3 copyright in all of them.
    4         Defendants have licensed and sold prints of certain of Mr. Mannion’s
    5 photographs of Mr. Carter since the late 1990s. The licenses have included ones to
    6 permit Mr. Carter and his companies to use Defendants’ photographs in advertising,
    7 tour merchandise, and Mr. Carter’s memoir.
    8         In 2015, Defendants caused to be created thirty (30) slipmats (round pieces of
    9 felt used on DJ turntables), imprinted with one of two photographs of Mr. Carter, for
   10 a DJ convention. Defendants used these slipmats, along with others imprinted with
   11 photographs of other musical artists, to create an artistic installation for the
   12 convention. Defendants gave away many of the slipmats and sold off remaining
   13 inventory through their online store, ending in January 2021.
   14         In 2016, three of Mr. Carter’s companies sponsored and provided financial
   15 assistance for Mr. Mannion to stage a gallery show featuring photographs from the
   16 Reasonable Doubt shoot and derivative artworks based on those photographs, which
   17 photo prints and artworks were offered for sale. In connection with the show,
   18 Defendants caused to be created a small print run of magnets and souvenir pins that
   19 included Mr. Carter’s image, many of which were given away. Defendants sold off
   20 remaining inventory through their online store: any magnets sold were sold before
   21 the statutory limitations period (i.e., before June 15, 2019), and eleven pins bearing
   22 an image of Mr. Carter’s hands were sold between June and December 2019.
   23         In 2016, Mr. Carter attended a pop-up store event, at which prints of
   24 photographs from the Reasonable Doubt shoot were on display and t-shirts
   25 imprinted with Reasonable Doubt photographs were on sale.
   26         Defendants have sold for over two decades, and currently sell, fine art prints
   27 of their photographs, including photographs that include Mr. Carter’s image.
   28 Defendants also sell shirts bearing a photograph of a stack of archival boxes labeled
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    1 with ten hip hop artists’ names, including Mr. Carter’s, as a way of visually
    2 conveying the breadth and significance of Mr. Mannion’s work. Defendants display
    3 a photo of Mr. Carter on the landing page of their website and online store, among
    4 other photographs from Mr. Mannion’s career.
    5         In May 2021, Plaintiff’s representatives approached Defendants’
    6 representatives seeking a licensing arrangement for one or more of Defendants’
    7 photographs. The parties negotiated first about a licensing arrangement, and then
    8 about a potential “buy-out” of Defendants’ copyright in the Reasonable Doubt cover
    9 photograph. The negotiations were ultimately unsuccessful. Plaintiff then sued.
   10         At no time did Plaintiff or his representatives send a cease-and-desist letter
   11 asking Defendants to stop any of their uses of their photographs of Plaintiff. There is
   12 no admissible evidence that Plaintiff or his representatives ever objected to
   13 Defendants’ uses of their photographs prior to the filing of this lawsuit.
   14 V.      RELIEF SOUGHT
   15         Mr. Carter seeks an injunction “requiring Mannion and his agents, servants,
   16 and employees, and all other persons with whom he is acting in concert, to refrain
   17 from using JAY-Z’s name, likeness, identity, or persona.” ECF No. 15 at 12.
   18         In addition to injunctive relief, Mr. Carter seeks damages in the form of
   19 (1) “the fair market value of the right to use [Mr. Carter’s] name or likeness in the
   20 manner in which it was used by [Defendants],” Clark v. Am. Online Inc., 2000 WL
   21 33535712, at *8 (C.D. Cal. Nov. 30, 2000), and (2) any profits from Defendants’
   22 use of Mr. Carter’s name, image, and likeness that “are not taken into account in
   23 computing” the first category of damages. Cal. Civ. Code § 3344(a); see ECF
   24 No. 15 at 11-12. Mr. Carter’s damages expert, Jon Albert, has computed the first
   25 category of damages “by using a willing licensor-willing licensee framework.”
   26 Ferriss v. All. Publ’g, Inc., 2016 WL 7116110, at *10 (N.D. Cal. Dec. 6, 2016); see
   27 ECF No. 138-1 (Expert Witness Report of Jon Albert).
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                                                                                   JOINT STATEMENT
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    1         Mr. Carter also seeks costs and attorneys’ fees as allowed by law, including
    2 section 3344(a) of the California Civil Code. Mr. Carter waived his right to seek
    3 punitive damages or damages for mental distress. ECF No. 142 at 3.
    4 VI.     DISCOVERY
    5         Discovery has ended. The discovery cut-off date was May 9, 2022. ECF No.
    6 52 at 1.
    7 VII. PROCEDURAL HISTORY
    8         On August 5, 2021, Defendants filed a Motion to Dismiss and/or Strike the
    9 First Amended Complaint. ECF No. 26. Defendants’ motion did not comply with
   10 Local Rule 7-3 because Defendants did not meet and confer before filing it.
   11         On August 6, 2021, the Court noted Defendants’ failure to comply with Local
   12 Rule 7-3 and ordered the parties to “discuss very carefully and explicitly a potential
   13 resolution of the issues raised in Defendants’ Motions.” ECF No. 28 at 1. The
   14 Court warned that “[f]uture violations … may result in the imposition of sanctions.”
   15         On September 8, 2021, after the parties met and conferred, the Court denied
   16 the motion. ECF No. 39. The Court ruled that “Defendants’ First Amendment
   17 transformative use defense and copyright preemption arguments d[id] not, as a
   18 matter of law, prevent Jay-Z from alleging sufficient facts to state plausible claims
   19 for relief or establishing a sufficient probability that he will prevail.” Id. at 9-10.
   20         On October 25, 2021, the parties filed a Joint Rule 26(f) Report, in which they
   21 estimated that trial in this matter would require three court days. ECF No. 48.
   22         On January 5, 2022, the parties participated in a mediation before the
   23 Honorable Terry Friedman (Ret.). ECF No. 59 at 1. The parties were unable to
   24 reach an agreement to resolve the case. Id.
   25         On April 6, 2022, Defendants filed a Motion for Summary Judgment. ECF
   26 No. 82. Defendants’ motion did not comply with Local Rule 7-3 because
   27 Defendants did not meet and confer before filing it.
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                                                                                   JOINT STATEMENT
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    1        On May 6, 2022, the Court struck Defendants’ Motion for Summary
    2 Judgment based on Defendants’ failure to meet and confer before filing the motion,
    3 as required by Local Rule 7-3. ECF No. 106. The Court explained that “[d]espite
    4 [its] warnings, Defendants’ counsel repeated the same violations of the Local
    5 Rules,” showing they were “either unwilling or unable to comply with the Local
    6 Rules of th[e] Court.” Id. Thus, the Court struck Defendants’ motion.
    7        On May 9, 2022, Defendants’ counsel conducted a meet-and-confer
    8 teleconference with Plaintiff’s counsel, pursuant to Local Rule 7-3. ECF No. 107-1
    9 ¶¶ 4-5. On the same day, Defendants filed an Ex Parte Application to continue the
   10 motion hearing cut-off date from May 16, 2022, to June 13, 2022, to permit the re-
   11 filing of Defendants’ Motion for Summary Judgment. ECF No. 107.
   12        On May 12, 2022, the Court denied Defendants’ Ex Parte Application. ECF
   13 No. 109.
   14        On June 3, 2022, the parties filed various pre-trial documents. ECF 110-122.
   15        On June 6, 2022, the Court ordered the parties to submit Confidential
   16 Settlement Conference Statements. ECF No. 124. The Court stated that the
   17 Statements would be provided to a judicial officer to determine the probability of
   18 settlement and whether the Court should require the parties to attend an additional
   19 settlement conference. Id. On June 13, 2022, the parties submitted the required
   20 Confidential Settlement Conference Statements. The Court has not ruled on
   21 whether to order the parties to attend an additional settlement conference.
   22        On June 17, 2022, the parties filed eight Motions in Limine, four each, in
   23 connection with the upcoming trial. ECF Nos. 157-60, 166, 168, 169, 171. (The
   24 Court’s Civil Trial Scheduling Order imposes a limit of four (4) motions in limine
   25 for each side. ECF No. 52 at 8.) The Court has not ruled on the motions.
   26 VIII. OTHER DEADLINES
   27        There are no deadlines that remain in effect under the Reassignment Order.
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                                                                              JOINT STATEMENT
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    1         Defendants’ Request: Defendants seek leave to request a hearing at which
    2 Defendants’ Motion for Summary Judgment may be heard. That Motion was struck
    3 on procedural grounds (failure to comply with the pre-filing meet-and-confer
    4 requirement under Local Rule 7-3) that Defendants have since remedied. ECF No.
    5 107-1 ¶¶ 4-5. Because the Court has vacated the previously scheduled trial date,
    6 there is ample time for Defendants’ Motion to be heard. More importantly,
    7 resolving the issues in Defendants’ Motion will facilitate trial management by
    8 potentially narrowing the scope of the trial or even resolving the matter entirely,
    9 ensuring the best use of this Court’s time and resources. The legal issues posed in
   10 Defendants’ Motion have not been considered in a motion that permits the partial
   11 dismissal of claims, such as a motion for summary judgment. Fed. R. Civ. Proc.
   12 56(a). Thus, even if the Court decides not to grant summary judgment in full,
   13 considering Defendants’ motion may remove issues that need to be tried by, for
   14 example, eliminating the parts of Plaintiff’s claims that are barred by the statute of
   15 limitations (inter alia, items printed in 2015 and 2016 and subject to the single-
   16 publication rule), copyright preemption (all of Plaintiff’s claims but particularly
   17 parts challenging the distribution of photographic prints and the display of
   18 photographs), or other defenses. Considering legal issues to ensure a streamlined
   19 and orderly trial is good cause to hear Defendants’ Motion. Further, Defendants
   20 would stipulate to having their Motion heard based on the documents already filed,
   21 obviating the need for Plaintiff’s counsel (or amici parties) to do any new work.
   22         Defendants also request that the Court set a deadline for the parties to conduct
   23 an additional settlement conference, and for an order requiring the parties to
   24 participate in another mediation, before a neutral agreed to by both parties, to
   25 facilitate ongoing settlement discussions. Defendants also request that this Court
   26 order the parties to personally attend the mediation. While Jonathan Mannion, on
   27 behalf of himself and Defendant Jonathan Mannion Photography LLC, attended the
   28 parties’ earlier mediation in its entirety, Plaintiff did not. ECF No. 100 ¶¶ 2-3.
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                                                                                 JOINT STATEMENT
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    1 Defendants believe that Plaintiff’s personal participation in a settlement conference
    2 is likely to increase the chances that a resolution can be reached.
    3        Plaintiff’s Response: The Court should deny Defendants’ request that the
    4 Court consider their stricken Motion for Summary Judgment, even though the
    5 motion cut-off date has passed. Defendants already asked the Court to extend the
    6 motion cut-off date to allow them to re-file their stricken Motion for Summary
    7 Judgment. ECF No. 107. The Court denied that request, ruling that Defendants
    8 “failed to establish good cause for any modification of the Civil Trial Scheduling
    9 Order.” ECF No. 109 at 2 & n.1.
   10        Defendants do not even attempt to argue that the requirements for
   11 reconsidering that ruling, such as a “manifest showing of a failure to consider
   12 material facts,” L.R. 7-18, are present here. Nor could they. The Court was well
   13 aware of Defendants’ excuses for repeatedly violating the Local Rules and found
   14 those excuses unavailing. See ECF No. 109 at 2. And the Court explained that
   15 “Defendants’ assertion of ‘prejudice’” was “relatively weak” to the extent
   16 Defendants’ Motion for Summary Judgment sought to re-raise the arguments the
   17 Court rejected in connection with their Motion to Dismiss and/or Strike—namely,
   18 that their conduct was protected by a “transformative use” defense and that
   19 Plaintiff’s claims are preempted by the Copyright Act. Id. at 2 n.1. The Court
   20 should reject Defendants’ request that the Court revisit and reverse interlocutory
   21 rulings that did not come out in Defendants’ favor.
   22        Plaintiff does not oppose extending the deadline for the parties to conduct a
   23 settlement conference or participating in another mediation before a neutral agreed
   24 to by both parties, so long as the parties complete any mediation in advance of the
   25 final pre-trial conference. Plaintiff does, however, oppose Defendants’ request that
   26 the Court order Plaintiff personally to attend the mediation. The Local Rules
   27 provide that parties “shall appear at [a] settlement proceeding in person or by a
   28 representative with final authority to settle the case.” L.R. 16-15.5. There is no
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                                                                               JOINT STATEMENT
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    1 reason for this Court to depart from the Local Rules.
    2 IX.      PROPOSED DATES
    3          Plaintiff requests that the Court set the following schedule:
    4 • Final Pre-Trial Conf.: October 21, 2022.
    5 • Trial: November 7, 2022.1
    6          Lead defense trial counsel has five trials set between October and January,
    7 including one set for November 7, 2022, and two trials in January. A stipulation has
    8 been filed, and is pending the judge’s approval, for a trial in a sixth case to start on
    9 December 5, 2022. All six of these other cases were filed before this one. The
   10 following dates are the earliest defense counsel is available for trial in this matter.
   11 • Final Pre-Trial Conference: February 6, 2023.
   12 • Trial: March 13, 2023.
   13 X.       MAGISTRATE JUDGE
   14          The parties do not consent to a magistrate judge for trial.
   15 XI.      CASE MANAGEMENT CONFERENCE
   16          Plaintiff’s Position: Plaintiff does not oppose setting a case management
   17 conference at a time convenient for the Court to (1) set a trial date, (2) set a date for
   18 the final pre-trial conference, and (3) set a date for a hearing on the parties’ motions
   19 in limine and disputed jury instructions, if necessary. The parties filed all of the pre-
   20 trial documents required by the Court’s Civil Trial Scheduling Order, including
   21 motions in limine. All that is left to do is for the Court to hold the final pre-trial
   22 conference, rule on the issues raised in the parties’ pre-trial documents, and
   23 commence trial. The Court should reject Defendants’ request below to further delay
   24 trial so that the Court can revisit prior rulings and orders and address arguments that
   25 Defendants failed to properly raise at summary judgment.
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   27       Plaintiff can be available on the dates proposed by Defendants but does not
      believe there is good cause to set a trial date for over 6 months after the original July
   28 19, 2022 trial date.
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    1         Defendants’ Position: There is an immediate need for a case management
    2 conference to discuss the best way to proceed in this matter, given the numerous
    3 open legal and procedural issues that could bear on the scope and scheduling of the
    4 final pre-trial conference and trial. These include legal issues such as: (a) whether
    5 Plaintiff’s claims are preempted, in whole or in part, by the Copyright Act (see ECF
    6 No. 139 at 17-25); (b) the legal meaning of consent with respect to one of the
    7 essential elements of Plaintiff’s claims (see id. at 15-16); (c) what constitutes harm
    8 with respect to one of the essential elements of Plaintiff’s claims (see id. at 16); and
    9 (d) for purposes of the statute of limitations, whether the single-publication rule
   10 applies to bar claims based on single publication runs of physical items that
   11 occurred before the statutory period (see id. at 31-32). If not heard and resolved
   12 before trial, Defendants intend to raise these legal issues (and potentially others) in a
   13 Motion for Judgment as a Matter of Law.
   14         Procedural questions include (a) whether the Court will extend the motion
   15 cut-off deadline so that Defendant’s Motion for Summary Judgment may be heard;
   16 (b) whether the Court will order the parties to conduct an additional settlement
   17 conference; (c) the anticipated length of trial; (d) the number of motions in limine
   18 the Court will permit; and (e) how and when the Court wishes to resolve disputes
   19 concerning jury instructions, deposition designations, and exhibits.
   20 XII. CASE SCHEDULE
   21         As noted above, Defendants seek consideration of and a hearing for their
   22 Motion for Summary Judgment, a settlement conference, and a case management
   23 conference.
   24         The parties jointly seek new dates for the trial, the final pre-trial conference,
   25 and a hearing date for motions in limine and, if separate from the pre-trial
   26 conference, a hearing date concerning the parties’ disputed jury instructions,
   27 deposition designations, and exhibits.
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                                                                                   JOINT STATEMENT
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    1 DATED: July 11, 2022               QUINN EMANUEL URQUHART
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   11                                    By /s/ Lika C. Miyake
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   12                                       Lika C. Miyake
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    1                            ATTESTATION STATEMENT
    2        I, Robert M. Schwartz, the filer of this Joint Statement, attest pursuant to Civil
    3 L.R. 5-4.3.4(a)(2) that all other signatories listed, and on whose behalf the filing is
    4 submitted, concur in the filing’s content and have authorized the filing.
    5
    6 DATED: July 11, 2022                   QUINN EMANUEL URQUHART
                                                 & SULLIVAN, LLP
    7
    8
                                             By /s/ Robert M. Schwartz
    9
                                                Robert M. Schwartz
   10                                           Attorneys for Plaintiff
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